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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK

   ALLAN DAVIS,                                      Case No:

            Plaintiff,
                                                     COMPLAINT FOR VIOLATION OF
            v.                                       THE FEDERAL SECURITIES LAWS

   ALEXION PHARMACEUTICALS, INC.,                    JURY TRIAL DEMANDED
   DAVID R. BRENNAN, CHRISTOPHER J.
   COUGHLIN, DEBORAH DUNSIRE,
   PAUL A. FRIEDMAN, LUDWIG
   HANTSON, JOHN T. MOLLEN,
   FRANCOIS NADER, JUDITH A.
   REINSDORF, and ANDREAS
   RUMMELT,

            Defendants.


       Plaintiff Allan Davis (“Plaintiff”), by Plaintiff’s undersigned attorneys, for Plaintiff’s

complaint against Defendants (defined below), alleges the following based upon personal

knowledge as to Plaintiff and Plaintiff’s own acts, and upon information and belief as to all other

matters, based upon, inter alia, the investigation conducted by and through Plaintiff’s attorneys.

                                 NATURE OF THE ACTION

       1.        This is an action against Alexion Pharmaceuticals, Inc. (“Alexion” or the

“Company”), and its Board of Directors (the “Board” or the “Individual Defendants”) for their

violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange


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Act”), 15 U.S.C. §§ 78n(a) and 78t(a), and Rule 14a-9 promulgated thereunder by the SEC, 17

C.F.R. § 240.14a-9, in connection with the proposed acquisition (the “Proposed Transaction”) of

Alexion by AstraZeneca PLC (“AstraZeneca”) and its subsidiaries.

                                 JURISDICTION AND VENUE

         2.    The claims asserted herein arise under and pursuant to Sections 14(a) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78n(a) and 78t(a)) and Rule 14a-9 promulgated thereunder by the

SEC (17 C.F.R. § 240.14a-9).

         3.    This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, and Section 27 of the Exchange Act, 15 U.S.C. § 78aa.

         4.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and Section 27 of

the Exchange Act (15 U.S.C. § 78aa(c)) as a substantial portion of the transactions and wrongs

complained of herein had an effect in this District, and the alleged misstatements entered and the

subsequent damages occurred in this District.

         5.    In connection with the acts, conduct and other wrongs alleged in this complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mails, interstate telephone communications and the

facilities of the national securities exchange.

                                             PARTIES

         6.    Plaintiff is, and has been at all relevant times hereto, an owner of Alexion common

stock.

         7.    Defendant     Alexion     develops     and   commercializes   various   therapeutic

products. The Company is incorporated in Delaware. The Company’s common stock trades on

the Nasdaq under the ticker symbol, “ALXN.”



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       8.      Defendant David R. Brennan (“Brennan”) is Chairman of the Board of the

Company.

       9.      Defendant Christopher J. Coughlin (“Coughlin”) is a director of the Company.

       10.     Defendant Deborah Dunsire (“Dunsire”) is a director of the Company.

       11.     Defendant Paul A. Friedman (“Friedman”) is a director of the Company.

       12.     Defendant Ludwig Hantson (“Hantson”) is Chief Executive Officer and a director

of the Company.

       13.     Defendant John T. Mollen (“Mollen”) is a director of the Company.

       14.     Defendant Francois Nader (“Nader”) is a director of the Company.

       15.     Defendant Judith A. Reinsdorf (“Reinsdorf”) is a director of the Company.

       16.     Defendant Andreas Rummelt (“Rummelt”) is a director of the Company.

       17.     Defendants Brennan, Coughlin, Dunsire, Friedman, Hantson, Mollen, Nader,

Reinsdorf, and Rummelt are collectively referred to herein as the “Individual Defendants.”

       18.     Defendants Alexion and the Individual Defendants are collectively referred to

herein as the “Defendants.”

                              SUBSTANTIVE ALLEGATIONS

   A. The Proposed Transaction

       19.     On December 12, 2020, Alexion and AstraZeneca announced that they had entered

into a definitive agreement for AstraZeneca to acquire Alexion. Under the terms of the agreement,

Alexion shareholders would receive $60.00 in cash and 2.1243 AstraZeneca American Depositary

Shares for each Alexion share. The press release announcing the merger states, in pertinent part:




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       AstraZeneca to Acquire Alexion, Accelerating the Company's Strategic and
                               Financial Development

         Greater scientific presence in immunology by adding Alexion's innovative
                   complement-technology platforms and strong pipeline

                 Dedicated rare disease unit to be headquartered in Boston

        Geographical presence to be enhanced with broad coverage across primary,
                          speciality and highly specialised care

            Double-digit revenue growth through 2025; acquisition strengthens
        AstraZeneca’s broad-based revenue and the company will further globalise
                                   Alexion’s portfolio

       Enhanced operating margin and cash flow to enable rapid debt reduction with
                          an ambition to increase the dividend

           The acquisition will be immediately core earnings-accretive and value-
             enhancing, and is aligned with stated capital-allocation priorities

      December 12, 2020 07:48 AM Eastern Standard Time

      CAMBRIDGE, England & BOSTON--(BUSINESS WIRE)--AstraZeneca and
      Alexion Pharmaceuticals, Inc. (Alexion) have entered into a definitive agreement
      for AstraZeneca to acquire Alexion.

      Alexion shareholders will receive $60 in cash and 2.1243 AstraZeneca American
      Depositary Shares (ADSs) (each ADS representing one-half of one (1/2) ordinary
      share of AstraZeneca, as evidenced by American Depositary Receipts (ADRs)) for
      each Alexion share. Based on AstraZeneca's reference average ADR price of
      $54.14, this implies total consideration to Alexion shareholders of $39bn or $175
      per share.

      The boards of directors of both companies have unanimously approved the
      acquisition. Subject to receipt of regulatory clearances and approval by
      shareholders of both companies, the acquisition is expected to close in Q3 2021,
      and upon completion, Alexion shareholders will own c.15% of the combined
      company.

      Pascal Soriot, Chief Executive Officer, AstraZeneca, said: "Alexion has established
      itself as a leader in complement biology, bringing life-changing benefits to patients
      with rare diseases. This acquisition allows us to enhance our presence in
      immunology. We look forward to welcoming our new colleagues at Alexion so that
      we can together build on our combined expertise in immunology and precision



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      medicines to drive innovation that delivers life-changing medicines for more
      patients."

      Ludwig Hantson, Ph.D., Chief Executive Officer, Alexion, said: “For nearly 30
      years Alexion has worked to develop and deliver transformative medicines to
      patients around the world with rare and devastating diseases. I am incredibly proud
      of what our organisation has accomplished and am grateful to our employees for
      their contributions. This transaction marks the start of an exciting new chapter for
      Alexion. We bring to AstraZeneca a strong portfolio, innovative rare disease
      pipeline, a talented global workforce and strong manufacturing capabilities in
      biologics. We remain committed to continuing to serve the patients who rely on our
      medicines and firmly believe the combined organisation will be well positioned to
      accelerate innovation and deliver enhanced value for our shareholders, patients and
      the rare disease communities.”

                                        *      *       *

      Details of the acquisition

      Key terms

      The acquisition will be undertaken through a US statutory merger in which Alexion
      shareholders will receive $60 in cash and 2.1243 new AstraZeneca ADSs listed on
      the Nasdaq exchange for each of their Alexion shares. The cash and ADS
      consideration represents an c.45% premium to Alexion shareholders based on the
      closing stock price of Alexion on 11 December 2020 and a c.43% premium, based
      on the 30-day volume-weighted average closing stock price of $122.04 before this
      announcement. If they elect, Alexion shareholders may receive their allocation of
      AstraZeneca ADSs in the form of a corresponding number of ordinary shares of
      AstraZeneca in addition to the cash consideration.

      Based on AstraZeneca's reference average ADR price of $54.14, this implies total
      consideration to Alexion shareholders of $39bn or $175 per share.

      Financing

      To support the financing of the offer consideration, AstraZeneca has entered into a
      new committed $17.5bn bridge-financing facility, provided by Morgan Stanley,
      J.P. Morgan Securities plc and Goldman Sachs. The bridge-financing facility is
      available for an initial term of 12 months from the earlier of the date of completion
      of the acquisition and 12 December 2021 with up to two six-month extensions
      available at the discretion of AstraZeneca. The initial bridge financing facility is
      intended to cover the financing of the cash portion of the acquisition consideration
      and associated acquisition costs and to refinance the existing term loan and
      revolving credit facilities of Alexion. In due course, AstraZeneca intends to
      refinance the initial bridge-financing facility through a combination of new


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      medium-term bank loan facilities, debt-capital market issuances and business cash
      flows.

      The acquisition is expected to significantly enhance cash generation, which will
      support rapid debt reduction and overall deleveraging. AstraZeneca remains
      committed to maintaining a strong investment-grade credit rating. The dividend
      policy remains unchanged with a commitment to a progressive dividend policy;
      dividend cover is expected to be materially enhanced as a result of the acquisition.

      Further information on synergies

      The acquisition is expected to realise recurring run-rate pre-tax synergies of
      c.$500m per year from the combined Group, generated from commercial and
      manufacturing efficiencies as well as savings in central costs, with full run-rate
      expected to be achieved by end of the third year following completion of the
      acquisition.

      To realise the total synergies, AstraZeneca expects to incur one-time cash costs of
      c.$650m, during the first three years following completion.

      Management and employees

      Members of Alexion's current senior management team will lead the future rare-
      disease activities. Under the terms of the acquisition agreement, AstraZeneca has
      agreed that for 12 months following closing, it will provide the Alexion employees
      with the same level of salary as such employees had before closing, incentive
      compensation opportunities that are in the aggregate no less favourable than those
      provided before closing and substantially comparable benefits to those provided
      before closing.

      Governance

      The companies will mutually agree on two individuals from the Alexion board of
      directors who will join the AstraZeneca board as directors upon closing of the
      acquisition.

      Closing conditions

      Closing of the acquisition is subject to approval by AstraZeneca and Alexion
      shareholders, certain regulatory approvals, approval of the new AstraZeneca shares
      for listing with the Financial Conduct Authority and to trading on the London Stock
      Exchange, and other customary closing conditions.

      The acquisition is a Class 1 transaction for AstraZeneca and as such, will require
      the approval of its shareholders to comply with the UK Listing Rules. A shareholder
      circular, together with notice of the relevant shareholder meeting, will be


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      distributed to shareholders in the first half of 2021. The Alexion proxy statement is
      also expected to be published in the first half of 2021.

      Subject to the satisfaction of the closing conditions to the proposed acquisition, the
      companies expect the acquisition to close in Q3 2021.

      Termination

      The acquisition terms provide that Alexion will be liable to pay a break fee of up
      to $1.2bn to AstraZeneca in certain specified circumstances (including a change of
      Alexion’s board recommendation or completion of an alternative acquisition).
      AstraZeneca will also be required to pay Alexion a break fee of $1.4bn in certain
      specified circumstances, including a change of AstraZeneca’s board
      recommendation.

      Recommendation

      The boards of directors of both Alexion and AstraZeneca have unanimously
      approved the proposed acquisition and resolved to recommend that their respective
      shareholders vote in favour of it.

      Advisors to AstraZeneca

      Evercore Partners International LLP (“Evercore”), and Centerview Partners UK
      LLP (“Centerview Partners”) are acting as lead financial advisers. Ondra LLP
      (“Ondra”) are providing advice as part of their ongoing financial advisory services.
      Morgan Stanley & Co. International plc (“Morgan Stanley”) and Morgan Stanley
      Bank International Limited and J.P. Morgan are acting as financial advisors and
      lead debt financing underwriters. Goldman Sachs Bank USA is acting as lead debt
      financing underwriter. Morgan Stanley and Goldman Sachs International are joint
      corporate brokers. Evercore is acting as sponsor in relation to the transaction
      described in this announcement. Freshfields Bruckhaus Deringer is acting as legal
      counsel.

      Advisors to Alexion

      Bank of America Securities is serving as financial advisor to Alexion, and
      Wachtell, Lipton, Rosen & Katz is serving as legal counsel.

      Alexion

      Alexion is a global biopharmaceutical company focused on serving patients and
      families affected by rare diseases and devastating conditions through the discovery,
      development and commercialisation of life-changing medicines. As a leader in rare
      diseases for more than 25 years, Alexion has developed and commercialises two
      approved complement inhibitors to treat patients with PNH and atypical haemolytic


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       uremic syndrome, as well as the first and only approved complement inhibitor to
       treat anti-acetylcholine receptor antibody-positive generalised myasthenia gravis
       and neuromyelitis optica spectrum disorder. Alexion also has two highly innovative
       enzyme replacement therapies for patients with life-threatening and ultra-rare
       metabolic disorders, hypophosphatasia and lysosomal acid lipase deficiency as well
       as the first and only approved Factor Xa inhibitor reversal agent. In addition,
       Alexion is developing several mid-to-late-stage therapies, including a copper-
       binding agent for Wilson disease, FcRn antibody for rare IgG-mediated diseases
       and an oral Factor D inhibitor as well as several early-stage therapies, including
       one for light chain amyloidosis, a second oral Factor D inhibitor and a third
       complement inhibitor. Alexion focuses its research efforts on novel molecules and
       targets in the complement cascade and its development efforts on haematology,
       nephrology, neurology, metabolic disorders, cardiology, ophthalmology and acute
       care. Headquartered in Boston, Massachusetts, Alexion has offices around the
       globe and serves patients in more than 50 countries. During 2019, Alexion
       generated a total revenue of $5bn and profit before tax of $2.2bn. As of 30
       September 2020, Alexion had gross assets of $17.5bn. Alexion's executive officers
       are Ludwig Hantson (Chief Executive Officer), Aradhana Sarin (Chief Financial
       Officer), Tanisha Carino (Chief Corporate Affairs Officer), Ellen Chiniara (Chief
       Legal Officer and Corporate Secretary), Indrani Franchini (Chief Compliance
       Officer), Brian Goff (Chief Commercial and Global Operations Officer), and John
       Orloff (Head of Research and Development). This press release and further
       information about Alexion can be found at www.alexion.com.

                                         *       *       *

       AstraZeneca

       AstraZeneca (LSE/STO/Nasdaq: AZN) is a global, science-led biopharmaceutical
       company that focuses on the discovery, development and commercialisation of
       prescription medicines, primarily for the treatment of diseases in three therapy areas
       - Oncology, Cardiovascular, Renal & Metabolism, and Respiratory & Immunology.
       Based in Cambridge, UK, AstraZeneca operates in over 100 countries and its
       innovative medicines are used by millions of patients worldwide. Please
       visit astrazeneca.com and follow the Company on Twitter @AstraZeneca.

       20.    On February 19, 2021, Defendants caused to be filed with the SEC a Form F-4

Registration Statement (the “Registration Statement”) under the Securities Act of 1933 in

connection with the Proposed Transaction.

   B. The Registration Statement Contains Materially False and Misleading Statements
      and Omissions

       21.    The Registration Statement, which recommends that Alexion shareholders vote in


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favor of the Proposed Transaction, omits and/or misrepresents material information concerning:

(i) Alexion’s and AstraZeneca’s financial projections; (ii) the financial analyses performed by

Alexion’s financial advisor, BofA Securities, Inc. (“BofA”), in connection with its fairness

opinion; and (iii) the sales process leading up to the Proposed Transaction.

       22.      The omission of the material information (referenced below) renders the following

sections of the Registration Statement false and misleading, among others: (i) Recommendation

of the Alexion Board of Directors; Alexion’s Reasons for the Transaction; (ii) Opinion of

Alexion’s Financial Advisor; (iii) Alexion Unaudited Prospective Financial Information; and (iv)

Background of the Transaction.

       23.      Unless and until the material misstatements and omissions (referenced below) are

remedied before the anticipated shareholder vote on the Proposed Transaction, Alexion

shareholders will be forced to make a voting decision on the Proposed Transaction without full

disclosure of all material information. In the event the Proposed Transaction is consummated,

Plaintiff may seek to recover damages resulting from Defendants’ misconduct.

             1. Material Omissions Concerning Alexion’s and AstraZeneca’s Financial
                Projections

       24.      The Registration Statement omits material information concerning Alexion’s and

AstraZeneca’s financial projections.

       25.      With respect to the “Alexion management unaudited PTRS Alexion projections,”

the Registration Statement fails to disclose the following: (1) all line items underlying (i) Total

Revenue, (ii) Non-GAAP Operating Income (Post-SBC), (iii) Tax-Effected EBIT, (iv) Unlevered

Free Cash Flow, and (v) Non-GAAP EPS (Pre-SBC); and (2) a reconciliation of all non-GAAP to

GAAP financial metrics.

       26.      With respect to the “the unaudited non-PTRS Alexion projections,” the


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 Registration Statement fails to disclose the following: (1) all line items underlying (i) Total

 Revenue, (ii) Gross Profit, (iii) Operating Profit, and (iv) Non-GAAP Net Income; and (2) a

 reconciliation of all non-GAAP to GAAP financial metrics.

        27.     With respect to the “Alexion management unaudited AstraZeneca projections,” the

 Registration Statement fails to disclose the following: (1) all line items underlying (i) Total

 Revenue, (ii) Core EBIT, (iii) Unlevered Free Cash Flow, and (iv) Core EPS; and (2) a

 reconciliation of all non-GAAP to GAAP financial metrics.

        28.     When a company discloses non-GAAP financial metrics in a Registration

 Statement, the company must also disclose all projections and information necessary to make the

 non-GAAP metrics not misleading, and must provide a reconciliation (by schedule or other clearly

 understandable method) of the differences between the non-GAAP financial metrics disclosed or

 released with the most comparable financial metrics calculated and presented in accordance with

 GAAP. The SEC has increased its scrutiny of a company’s use of non-GAAP financial measures

 as such measures can be misleading and “crowd out” more reliable GAAP information. 1

        29.     The disclosure of this information is material because it would provide the

 Company’s shareholders with a basis to project the future financial performance of the Company

 and combined company and would allow shareholders to better understand the financial analyses

 performed by the Company’s financial advisor in support of its fairness opinion. Shareholders



 1
   Mary Jo White, Keynote Address, International Corporate Governance Network Annual
 Conference: Focusing the Lens of Disclosure to Set the Path Forward on Board Diversity, Non-
 GAAP, and Sustainability (June 27, 2016), https://www.sec.gov/news/speech/chair-white-icgn-
 speech.html (footnotes omitted) (last visited Mar. 17, 2021) (“And last month, the staff issued
 guidance addressing a number of troublesome practices which can make non-GAAP disclosures
 misleading: the lack of equal or greater prominence for GAAP measures; exclusion of normal,
 recurring cash operating expenses; individually tailored non-GAAP revenues; lack of consistency;
 cherry-picking; and the use of cash per share data. I strongly urge companies to carefully consider
 this guidance and revisit their approach to non-GAAP disclosures.”).

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 cannot hope to replicate management’s inside view of the future prospects of the Company.

 Without such information, which is uniquely possessed by Defendant(s) and the Company’s

 financial advisor, the Company’s shareholders are unable to determine how much weight, if any,

 to place on the Company’s financial advisor’s fairness opinion in determining whether to vote for

 or against the Proposed Transaction.

        30.      The above-referenced omitted information, if disclosed, would significantly alter

 the total mix of information available to the Company’s shareholders.

              2. Material Omissions Concerning BofA’s Analyses

        31.      In connection with the Proposed Transaction, the Registration Statement omits

 material information concerning analyses performed by BofA.

              a. BofA’s Financial Analyses of Alexion

        32.      With respect to BofA’s “Selected Publicly Traded Companies Analysis” and

 “Selected Precedent Transactions Analysis,” the Registration Statement fails to disclose the

 individual multiples and financial metrics of the companies and transactions BofA observed in its

 analyses.

        33.      The Registration Statement fails to disclose the following concerning BofA’s

 “Discounted Cash Flow Analysis”: (1) all line items underlying the standalone, unlevered, after-

 tax free cash flows Alexion was expected to generate over the period from September 30, 2020

 through December 31, 2040; (2) the individual inputs and assumptions underlying the discount

 rate range of 7.0% to 9.5%; (3) Alexion’s net debt as of September 30, 2020; (4) the number of

 fully-diluted shares of Alexion common stock outstanding; and (5) the terminal values used in the

 analysis.

        34.      With respect to BofA’s “Discounted Cash Flow Analysis Sensitivity Analysis,” the

 Registration Statement fails to disclose the individual inputs and assumptions underlying the

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 illustrative discount rate range of 8.0% to 10.5%, ~40% EU price decrease for ANDEXXA as

 compared to Alexion management unaudited Alexion projections, and ~5% ULTOMIRIS price

 decrease in 2023 and subsequently every 4 years thereafter.

        35.      With respect to BofA’s “Wall Street Analysts Price Targets,” the Registration

 Statement fails to disclose: (1) the individual price targets observed by BofA in its analyses; and

 (2) the sources thereof.

        36.      With respect to BofA’s “Premia Paid Analysis,” the Registration Statement fails to

 disclose each transaction and the premiums paid therein.

              b. BofA’s Financial Analyses of AstraZeneca

        37.      With respect to BofA’s “Selected Publicly Traded Companies Analysis,” the

 Registration Statement fails to disclose the individual multiples and financial metrics of the

 companies BofA observed in its analyses.

        38.      The Registration Statement fails to disclose the following concerning BofA’s

 “Discounted Cash Flow Analysis”: (1) all line items underlying the standalone, unlevered, after-

 tax free cash flows AstraZeneca was expected to generate over the period from September 30,

 2020 through December 31, 2030; (2) the terminal values for AstraZeneca; (3) the individual

 inputs and assumptions underlying the (i) range of perpetuity growth rates of negative 3.0% to

 positive 1.0%, and (ii) discount rates ranging from 6.0% to 7.5%; (4) AstraZeneca’s net debt as of

 September 30, 2020; and (5) the number of fully-diluted AstraZeneca ordinary shares outstanding.

        39.      With respect to BofA’s “Wall Street Analysts Price Targets,” the Registration

 Statement fails to disclose: (1) the individual price targets observed by BofA in its analyses; and

 (2) the sources thereof.

        40.      The valuation methods, underlying assumptions, and key inputs used by



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 BofA in rendering its purported fairness opinion must be fairly disclosed to Alexion shareholders.

 The description of BofA’s fairness opinion and analyses, however, fails to include key inputs and

 assumptions underlying those analyses. Without the information described above, Alexion

 shareholders are unable to fully understand BofA’s fairness opinion and analyses, and are thus

 unable to determine how much weight, if any, to place on them in determining whether to vote for

 or against the Proposed Transaction. This omitted information, if disclosed, would significantly

 alter the total mix of information available to the Company’s shareholders.

              3. Material Omissions Concerning the Sales Process Leading up to the Proposed
                 Transaction

        41.      The Registration Statement omits material information concerning the sales process

 leading up to the Proposed Transaction.

        42.      The Registration Statement provides that one of Alexion’s activist investors, Elliot

 Advisors (UK) Limited (“Elliott”), began recommending in September 2019 and into the fourth

 quarter of 2019 that the Board “immediately launch a proactive process to explore a sale of the

 company.”

        43.      On December 9, 2019, Elliott issued a public statement setting forth its view,

 “privately previously communicated to Alexion, that Alexion would be a highly valuable strategic

 asset for a number of larger pharmaceutical companies and reiterating Elliott’s belief that Alexion

 should launch a proactive sale process.”

        44.      To that end, in May 2020, Elliott “publicly reiterated these views in an open letter

 to the Alexion board of directors.”

        45.      The Registration Statement, however, fails to adequately disclose what impact

 Elliott’s statements and subsequent communications with Alexion had on Alexion’s sales process

 leading up to the Proposed Transaction.


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         46.     Further, Defendant Brennan previously served as a director and as CEO of

 AstraZeneca until retiring from those positions in June 2012. Defendant Brennan held

 approximately 81,000 shares of AstraZeneca ordinary shares as of the date of the Registration

 Statement and beneficially owned approximately 18,502 shares of Alexion stock as of February

 12, 2021. Defendant Brennan also played a key role in negotiating the Proposed Transaction on

 behalf of Alexion.

         47.     The Registration Statement, however, fails to disclose what steps were taken by the

 Board, if any, to ensure the sales process was conducted in a fair and unbiased manner free of any

 potential conflicts of interest.

         48.     The Registration Statement also fails to sufficiently disclose all communications

 concerning post-transaction employment involving Alexion management and the Board that

 occurred during the negotiation of the Proposed Transaction.

         49.     The above-referenced omitted information, if disclosed, would significantly alter

 the total mix of information available to the Company’s shareholders.

                                            COUNT I
            For Violations of Section 14(a) and Rule 14a-9 Promulgated Thereunder
                                     Against All Defendants
         50.     Plaintiff repeats and realleges each and every allegation contained above as if fully

 set forth herein.

         51.     During the relevant period, Defendants, individually and in concert, directly or

 indirectly, disseminated or approved the false and misleading Registration Statement specified

 above, which failed to disclose material facts necessary in order to make the statements made, in

 light of the circumstances under which they were made, not misleading, in violation of Section

 14(a) of the Exchange Act and Rule 14a-9 promulgated thereunder by the SEC.

         52.     Each of the Individual Defendants, by virtue of his/her positions within the

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 Company as officers and/or directors, were aware of the omitted information but failed to disclose

 such information, in violation of Section 14(a) of the Exchange Act. Defendants, by use of the

 mails and means and instrumentalities of interstate commerce, solicited and/or permitted the use

 of their names to file and disseminate the Registration Statement with respect to the Proposed

 Transaction. The Defendants were, at minimum, negligent in filing the materially false and

 misleading Registration Statement.

        53.     The false and misleading statements and omissions in the Registration Statement

 are material in that a reasonable shareholder would consider them important in deciding how to

 vote on the Proposed Transaction.

        54.     By reason of the foregoing, Defendants have violated Section 14(a) of the Exchange

 Act and Rule 14a-9 promulgated thereunder.

        55.     Because of the false and misleading statements and omissions in the Registration

 Statement, Plaintiff is threatened with irreparable harm.

                                             COUNT II
                          Violations of Section 20(a) of the Exchange Act
                                Against the Individual Defendants

        56.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

 paragraphs as if fully set forth herein.

        57.     The Individual Defendants acted as control persons of the Company within the

 meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their senior positions

 as officers and/or directors of the Company and participation in and/or awareness of the

 Company’s operations and/or intimate knowledge of the false statements contained in the

 Registration Statement filed with the SEC, they had the power to and did influence and control,

 directly or indirectly, the decision-making of the Company, including the content and



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 dissemination of the false and misleading Registration Statement.

        58.     Each of the Individual Defendants was provided with or had unlimited access to

 copies of the Registration Statement and other statements alleged by Plaintiff to be misleading

 prior to and/or shortly after these statements were issued and had the ability to prevent the issuance

 of the statements or cause the statements to be corrected. As officers and/or directors of a publicly

 owned company, the Individual Defendants had a duty to disseminate accurate and truthful

 information with respect to the Registration Statement, and to correct promptly any public

 statements issued by the Company which were or had become materially false or misleading.

        59.     In particular, each of the Individual Defendants had direct and supervisory

 involvement in the operations of the Company, and, therefore, is presumed to have had the power

 to control or influence the particular transactions giving rise to the securities violations as alleged

 herein, and exercised the same. The Individual Defendants were provided with or had unlimited

 access to copies of the Registration Statement and had the ability to prevent the issuance of the

 statements or to cause the statements to be corrected. The Registration Statement at issue contains

 the recommendation of the Individual Defendants to approve the Proposed Transaction. Thus, the

 Individual Defendants were directly involved in the making of the Registration Statement.

        60.     In addition, as the Registration Statement sets forth at length, and as described

 herein, the Individual Defendants were involved in negotiating, reviewing, and approving the

 Proposed Transaction. The Registration Statement purports to describe the various issues and

 information that they reviewed and considered—descriptions which had input from the Individual

 Defendants.

        61.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

 of the Exchange Act.



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        62.     As set forth above, the Individual Defendants had the ability to exercise control

 over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9

 promulgated thereunder, by their acts and omissions as alleged herein. By virtue of their positions

 as controlling persons, the Individual Defendants are liable pursuant to Section 20(a) of the

 Exchange Act. As a direct and proximate result of Defendants’ conduct, the Company’s

 shareholders will be irreparably harmed.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for judgment and relief as follows:

        A.      Preliminarily and permanently enjoining Defendants and all persons acting in

 concert with them from proceeding with, consummating, or closing the Proposed Transaction and

 any vote on the Proposed Transaction, unless and until Defendants disclose and disseminate the

 material information identified above to Company shareholders;

        B.      In the event Defendants consummate the Proposed Transaction, rescinding it and

 setting it aside or awarding rescissory damages;

        C.      Declaring that Defendants violated Sections 14(a) and 20(a) of the Exchange Act,

 and Rule 14a-9 promulgated thereunder;

        D.      Awarding Plaintiff reasonable costs and expenses incurred in this action, including

 counsel fees and expert fees; and

        E.      Granting such other and further relief as the Court may deem just and proper.

                                     JURY TRIAL DEMANDED

        Plaintiff hereby demands a trial by jury.




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 Dated: March 17, 2021                     Respectfully submitted,

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                                           Counsel for Plaintiff




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